






Opinion issued April 30, 2009










In The

Court of Appeals

For The

First District of Texas






NO. 01-09-00015-CV






BARTHOLOMEW C. OKONKWO,  Appellant


V.


COMMISSIONER FOR LAWYERS DISCIPLINE,  Appellee






On Appeal from the 412th Judicial District Court

Brazoria County, Texas

Trial Court Cause No. 42320






MEMORANDUM OPINION	Appellant has neither established indigence, nor paid all the required fees.  See
Tex. R. App. P. 5 (requiring payment of fees in civil cases unless indigent), 20.1
(listing requirements for establishing indigence); see also Tex. Gov't Code Ann. §§
51.207 (Vernon 2005), 51.208 (Vernon Supp. 2008); 51.941(a) (Vernon 2005),
101.041 (Vernon Supp. 2008) (listing fees in court of appeals); Fees Civ. Cases
B(1), (3) (listing fees in court of appeals).  After being notified that this appeal was
subject to dismissal, appellant Bartholomew C. Okonkwo did not adequately respond. 
See Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing involuntary
dismissal of case).

	We dismiss the appeal for nonpayment of all required fees.  We deny all
pending motions.

PER CURIAM

Panel consists of Justices Jennings, Keyes, and Higley.


